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12
                                    UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14
     CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
15                                               )
                                                 ) [Proposed] ORDER
16                  Plaintiffs,
                                                 )
17          vs.                                  )
                                                 )
18                                               )
     CITY OF FREMONT,                            )
19                                               )
20                  Defendant.                   )
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     California Homeless Union, et al. v. City of Fremont
     [Proposed] Order
           Case 3:25-cv-02225-MMC          Document 9-7        Filed 03/05/25     Page 2 of 2




 1   GOOD CAUSE APPEARING THEREFORE:
 2          The Court GRANTS Plaintiffs’ Application for a Temporary Order /Preliminary Injunction as
 3
     follows:
 4
            1. Defendant City of Fremont, its officials, departments, agents, employees, contractors and all
 5
 6              those who work under the direction of the City of Fremont are hereby enjoined from

 7              enforcement of Chapter 8.90 of the Fremont Municipal Code until further Order of this Court.
8
            2. Fremont Municipal Code Chapter 8.90 is hereby declared to be unconstitutional.
 9
      IT IS SO ORDERED
10
      Dated: March ____, 2025                                   ________________________
11
12                                                              Hon. _____________________
                                                                Judge for the Northern District of
13                                                              California
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     California Homeless Union, et al. v. City of Fremont
     [Proposed] ORDER
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